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 8                             UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10                                   SOUTHERN DIVISION
11
                                                 )
12
      PEDEGO, LLC,                               )      Case No.: SACV 12-01106-CJC(JPRx)
                                                 )
13                Plaintiff,                     )
                                                 )
14          vs.                                  )
                                                 )
15                                               )      ORDER DENYING PLAINTIFF’S
                                                 )      MOTION FOR PRELIMINARY
16    ALLIANCE WHOLESALERS, INC.,                )      INJUNCTION
      d/b/a PRODECO TECHNOLOGIES,                )
17                                               )
                                                 )
18                 Defendants.                   )
                                                 )
19                                               )
                                                 )
20                                               )
21

22    I. INTRODUCTION & BACKGROUND
23

24          Plaintiff Pedgeo, LLC (“Pedego”) brought this suit against Defendant Alliance
25    Wholesalers, Inc. d/b/a Prodeco Technologies (“PT”) on July 6, 2012, alleging federal
26    and common law trademark infringement, false designation of origin, violation of
27    California Business and Professions Code section 17200, common law unfair
28    competition, and requesting the denial or cancellation of a trademark application. (See

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 1    Compl.) Pedego is a corporation that designs, manufactures, and markets electric
 2    bicycles. (Id. ¶ 7.) Pedego alleges that it is the owner of the trademark and designation
 3    “PEDEGO,” and that it has made use of this mark in conjunction with the sale of its
 4    electric bicycles since March 11, 2009. (Id. ¶¶ 8–9.) PT is also in the electric bicycle
 5    business, and produces and sells its own electric bicycle model under the name
 6    “Prodeco.” (Id. ¶ 11.) Pedego has been aware of PT’s use of the “Prodeco” name since
 7    at least May of 2011, when PT filed a trademark application with the U.S. Patent and
 8    Trademark Office (“USPTO”) for “Prodeco Technology.” (DiConstanzo Decl. ¶ 5.) In
 9    response to this application, on May 23, 2011, Pedego submitted a Letter of Protest to the
10    USPTO. (Id.)
11

12           Pedego is an annual exhibitor at the “InterBike” tradeshow for bicycles and the
13    biking industry. (DiConstanzo Decl. ¶ 2.) Both Pedego and PT plan to exhibit their
14    respective models of electric bicycles at the upcoming “InterBike” tradeshow in Las
15    Vegas, Nevada on September 19–21. (Pl.’s Mot., at 1.) According to Pedego, permitting
16    PT to exhibit its “Prodeco” electric bicycle at the InterBike tradeshow is likely to cause
17    massive confusion between the two brands, and irreparable harm to Pedego (Id. at 2.)
18    Before the Court is Pedego’s motion for a preliminary injunction. For the reasons
19    explained below, Pedego’s motion is DENIED.1
20

21    II. ANALYSIS
22

23           “A plaintiff seeking a preliminary injunction must establish that he is likely to
24    succeed on the merits, that he is likely to suffer irreparable harm in the absence of
25    preliminary relief, that the balance of equities tips in his favor, and that an injunction is in
26

27    1
        Having read and considered the papers presented by the Plaintiff, the Court finds this matter
28    appropriate for disposition without a hearing. See Fed. R. Civ. P. 78; Local Rule 7-15. Accordingly, the
      hearing set for September 17, 2012, at 1:30 p.m. is hereby vacated and off calendar.
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 1    the public interest.” Winter v. Natural Res. Def. Council, Inc., 129 S.Ct. 365, 374 (2008);
 2    Am. Trucking Ass’ns, Inc. v. City of Los Angeles, 559 F.3d 1046, 1052 (9th Cir. 2009). A
 3    preliminary injunction is an extraordinary and drastic remedy that should only be
 4    awarded upon a clear showing that the moving party is entitled to relief. See Mazurek v.
 5    Armstrong, 520 U.S. 968, 972 (1997) (per curiam).
 6

 7           First, Pedego has not demonstrated a likelihood of success on the merits of its
 8    trademark infringement claims, unfair competition claim, or false designation of origin
 9    claim.2 “To establish infringement of a registered trademark, the trademark holder must
10    show that it is (1) the owner of a valid, protectable mark, and (2) that the alleged infringer
11    is using a confusingly similar mark.” Grocery Outlet Inc. v. Albertson’s Inc., 497 F.3d
12    949, 951 (9th Cir. 2007) (citing 15 U.S.C. § 1114(1)). While Pedego has established that
13    it is the owner of a valid and protectable mark, (see Dicostanzo Decl. Exh. A), it has not
14    established a likelihood of confusion between its electric bicycle model and PT’s
15    competing product. To determine whether a likelihood of confusion exists, the Court
16    applies the factors set forth in AMF Incorporated v. Sleekcraft Boats, 599 F.2d 341 (9th
17    Cir. 1979). These factors are: (1) strength of the mark; (2) proximity of the goods; (3)
18    similarity of the marks; (4) evidence of actual confusion; (5) marketing channels used;
19    (6) type of goods and degree of care likely to be exercised by the purchaser; (7)
20    defendant’s intent in selecting the mark; and (8) likelihood of expansion of the product
21    lines. Id. at 348–49.
22

23           Upon considering these factors, the Court concludes that Pedego has not
24    demonstrated a likelihood of success on the merits on the essential element of likelihood
25    of confusion. The first Sleekcraft factor is neutral. Pedego’s trademark is not
26

27    2
        Regardless of how the violation is phrased—infringement, unfair competition, or false designation of
28    origin—the test for determining a violation is the same: “is there a likelihood of confusion.” New W.
      Corp v. NYM Co. of Ca., 595 F.2d 1194, 1201 (9th Cir. 1979).
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 1    exceedingly strong, but it is a coined term that is not defined. The mark contains the
 2    prefix “ped” and the suffix “go,” which, when viewed in the context of the electric
 3    bicycle industry, do not appear exceedingly unique. Indeed, PT presented evidence that
 4    these prefixes and suffixes are common in the company names of bicycle and electric
 5    vehicle manufacturers. (Def. Opp’n., at 9; Provost Decl. ¶¶ 22–23.)
 6

 7          Second, the “proximity of the goods factor” is neutral or slightly in favor of
 8    Pedego. Both Pedego and PT market their products nationally, and both intend to exhibit
 9    and market their products at the upcoming “InterBike” tradeshow. However, Pedego and
10    PT appear to market their products to two distinct demographics. While Pedego markets
11    their electric bicycles to consumers with an average age of 59 for men and 58 for women,
12    PT markets it bikes to a younger crowd, primarily under the age of 50. (Provost Decl. ¶¶
13    10, 12.)
14

15          The third factor weighs in favor of PT because, although both names sound
16    relatively similar, they are visually distinct. Pedego’s mark appears with vertical, thick,
17    and distinctive orange lettering, with the words “electric bikes” underneath. In
18    comparison, PT’s “Prodeco” insignia appears with thin, italicized black lettering, with the
19    word “technologies” in small font, underneath and to the side. (Diconstanzo Decl. Exh.
20    E; Def. Opp’n. at 8.)
21

22          The fourth factor is neutral or weighs slightly in favor of PT because the evidence
23    submitted by Pedego does not conclusively establish the actual confusion required for a
24    preliminary injunction. Pedego claims that PT’s “use of the PRODECO mark has caused
25    extensive actual confusion with the PEDEGO mark . . . [and] customers have admitted
26    their confusion in email, online publications, telephone calls and advertisements.” These
27    claims are an overstatement of the evidence submitted. In support of its argument that
28    consumers are actually confused by the two marks, Pedego submits phone logs which it

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 1    claims are calls to Pedego by individuals seeking information on Prodeco brand electric
 2    bicycles. (Diconstanzo Decl. ¶ 10, Exh. D.) But an examination of the phone logs does
 3    not indicate whether the callers were in fact confused by the two marks. Rather, the
 4    phone logs simply list telephone numbers, the time of the call, and location of the caller.
 5    (Id. Exh. D.) While Pedego does submit what appears to be a description by one of its
 6    customer service personnel of a call from a confused customer, it is unclear who wrote
 7    this description and when. (See id.) Without more, the phone logs and the description
 8    are unreliable hearsay. Next, Pedego submits several emails which it claims demonstrate
 9    actual confusion. (Id. Exh. E.) In the first email, an individual asks whether “you have
10    or will you do repairs on a prodeco phantom x electric bike.” (Id.) Such an inquiry is
11    entirely inconclusive, and is not evidence of actual confusion. Rather than being
12    confused, this consumer could just as easily have been inquiring as to whether Pedego
13    would service a competitor’s product. Pedego also submits several emails from bike
14    dealers which were allegedly misdirected to Pedego. (See id.) These emails are similarly
15    insufficient to establish significant confusion.3 Pedego also submits an article regarding
16    electric bicycles and two Craigslist.com ads which purportedly confuse the two marks.
17    (Id. Exh. F, G.) But this evidence again is not conclusive proof of significant confusion
18    to justify the drastic relief sought. Moreover, PT has provided evidence indicating that
19    since February of 2012, it has not received a single call from a customer confused by the
20    two marks. (Neal Decl. ¶¶ 2–3; Lindsay Decl. ¶¶ 2–3.)
21

22           The marketing channels factor weighs in favor of Pedego because the evidence
23    indicates that the two businesses do use the same marketing channels, including the
24    internet and the upcoming “InterBike” tradeshow. (Diconstanzo Decl. ¶ 7.)
25

26    3
        In its Reply brief, Pedego submits the declaration of Alan J. Levine, the founder of Hybrid Pedals.
27    (Levin Decl. ¶ 1.) In his declaration, Mr. Levine states that he incorrectly believed that Pedego was
      sponsoring the InterBike tradeshow, when PT is actually the sponsor. (Id. ¶¶ 3–4.) Regardless, Mr.
28    Levine’s apparent confusion does not corroborate the emails submitted in support of Pedego’s motion
      that allegedly demonstrate actual confusion.
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 1          The factor addressing the degree of purchaser care is neutral or weighs slightly in
 2    favor of PT. While PT contends that its electric bicycles sell for an average of $1,200,
 3    the Court has not been provided with any reliable evidence indicating the average sale
 4    price of Pedego’s electric bicycles. Nevertheless, when purchasing expensive items,
 5    consumers can be expected to be more discerning and less susceptible to confusion.
 6    Brookfield Communications, Inc. v. West Coast Entertainment Corp., 174 F.3d 1036,
 7    1060 (9th Cir. 1999).
 8

 9          As to the seventh factor, there is no evidence that PT willfully chose to use the
10    mark “Prodeco” in order to trade off the good will or market reputation of Pedego.
11    Indeed, Pedego does not even address this factor in its motion. As PT explains,
12    “Prodeco” is a combination of the founders’ last names of “Provost,” “Del Aguilla,” and
13    “Acosta.” The mark is also, apparently, a variant of one of the founder’s former
14    companies, “Eco Tech.”
15

16          Finally, the likelihood of expansion factor weighs slightly favor of Pedego. Both
17    parties market electric bikes in the same or overlapping markets. The expansion of their
18    product lines, including accessories, has the potential to increase whatever confusion
19    presently exists. On balance, the Sleekcraft factors weigh slightly in favor of PT and
20    suggest no likelihood of confusion.
21

22          Second, Pedego has not shown that it is likely to suffer irreparable harm in the
23    absence of preliminary relief as to any of the alleged infringement or unfair competition.
24    Where there is a delay in seeking a preliminary injunction, courts have consistently found
25    no irreparable harm at stake. See Kerr Corp. v. North American Dental Wholesalers,
26    Inc., No. SACV 11-0313, 2011 WL 2269991, at *3 (C.D. Cal. Jun. 9, 2011);
27    Givemepower Corp. v. Pace Compumetrics, Inc., No. CV 07-157, 2007 WL 951350, at
28    *7 (S.D. Cal. Mar. 23, 2007).

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 1          The context under which this motion is brought, and the timeline of events
 2    described in the moving papers, reveals a lack of urgency. Pedego has been aware of
 3    PT’s use of the “Prodeco” mark since as far back as May 23, 2011, when Pedego filed a
 4    Letter of Protest with the USPTO regarding PT’s trademark application. (Diconstanzo
 5    Decl. ¶¶ 3–4.) According to PT, Pedego was also aware that PT attended the 2011
 6    InterBike tradeshow, selling bicycles bearing its name. (Id. ¶ 3.) Yet Pedego waited
 7    until July 6, 2012 to file its complaint in this action, and until September 4, 2012, to file
 8    the instant motion for a preliminary injunction. While Pedego alleges that it acted
 9    diligently after receiving an inquiry from an apparently confused retailer on August 2,
10    2012, this does nothing to change the fact that Pedego has been aware of PT’s mark and
11    the potential for confusion for over a year. (See Pl.’s Reply, at 5.) Pedego has not
12    persuaded the Court that the extraordinary remedy of an injunction is warranted to protect
13    it from any irreparable harm following its long delay in seeking an injunction. Such a
14    delay necessarily suggests that a lack of urgency exists. Kerr, 2011 WL 2269991, at *3;
15    see also Hansen Beverage Co. v. Vital Pharmaceutical, Inc., No. CV 08-0545, 2008 WL
16    5427601, *6 (S.D.Cal. Dec.30, 2008) (“Delays in requesting an injunction, whether for
17    months or years, tend to negate a claim of irreparable harm.”)
18

19          Third, the balance of equities does not weigh in favor of Pedego. If Pedego’s
20    injunction is not granted, the hardship it suffers will not be significant because there is
21    little likelihood of confusion between the two companies. Consequently, there is little
22    risk of PT having much effect on the goodwill and reputation of Pedego. In contrast, if
23    the preliminary injunction is granted in error PT may be subject to serious harm. PT has
24    or will spend over $90,000 in direct costs to participate in the InterBike tradeshow.
25    (Provost Decl. ¶ 34.) PT projects that at least 70% of its 2013 line of bicycles will
26    directly result from orders placed at the tradeshow. (Id. ¶ 37.) In addition to lost profits,
27    if unable to attend the tradeshow, PT will lose close to $300,000 in deposits it has already
28    paid to suppliers. (Id. ¶ 38.) Such a loss in profits will make PT unable to pay down its

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 1    outstanding $2.4 million credit line and loans. (Id.) Indeed, PT contends that if it is
 2    barred from participating in the InterBike tradeshow it will be unable to remain
 3    financially solvent. (Id. ¶ 36.) Accordingly, the balance of the equities tips significantly
 4    in favor of denying the injunctive relief sought.
 5

 6          Finally, Pedego has not demonstrated that a preliminary injunction is in the
 7    public’s interest. Given that there appears to be little likelihood of confusion at this
 8    point, the public is not at a risk of being deceived by PT’s use of the “Prodeco” mark.
 9    The public, therefore, is not being harmed by PT’s continuing operation, pending
10    resolution of this matter through the litigation process. In contrast, granting the
11    preliminary injunction would harm the public by forcing a business to take actions that
12    may severely harm its operations and possibly even force it out of business.
13

14    III. CONCLUSION
15

16          For the foregoing reasons, Pedego’s motion for a preliminary injunction is
17    DENIED.
18

19

20          DATED:        September 14, 2012
21                                                   __________________________________
22                                                          CORMAC J. CARNEY
23                                                   UNITED STATES DISTRICT JUDGE
24

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